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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

                                                       )
 AMERICAN OVERSIGHT,                                   )
                                                       )
        Plaintiff,                                     )
                                                       ) No. 18-cv-1272 (CKK)
        v.                                             )
                                                       )
 U.S. DEPARTMENT OF TRANSPORTATION                     )
                                                       )
        Defendant.                                     )
                                                       )

JOINT NOTICE TO THE COURT OF RESTORATION OF APPROPRIATIONS

       On December 27, 2018, this Court granted Defendant’s motion for a stay the

deadline for filing a joint status report in the above-captioned case commensurate with

the duration of the lapse of appropriations for the Department of Justice. As of January

25, 2019, funding was restored through February 15, 2019 for the Department of Justice,

and the Department resumed its usual civil litigation functions. Pursuant to the Court’s

order, the deadline for the parties to file a joint status report should be extended by thirty-

five days. Accordingly, the parties will submit a joint status report on or before on or

before February 6, 2019.



Dated: January 28, 2019                        Respectfully submitted,

 /s/ Daniel A. McGrath                         JOSEPH H. HUNT
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